Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 1 of 9




                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 11-60702-CIV-COOKE/TORRES

   SECURITIES AND EXCHANGE COMMISSION,

                    Plaintiff,

   v.

   COMMODITIES ONLINE, LLC, and
   COMMODITIES ONLINE MANAGEMENT,

               Defendants.
   __________________________________________/

                              RECEIVER’S FINAL STATUS REPORT AND
                                MOTION TO CLOSE RECEIVERSHIP

           David S. Mandel, the Court-appointed Receiver for Commodities Online LLC and

   Commodities Online Management, LLC (together, “Commodities Online” or the Defendants),

   hereby files this Final Status Report to inform the Court of his activities to date, and moves the

   Court to enter an order 1) directing the Receiver to take any further actions he may deem necessary

   to conclude the business of the Receivership; and 2) relieving the Receiver of any further

   obligations in this matter.

   I.      SUMMARY

           The Receiver believes that he has fully satisfied or, as explained herein, has made the

   necessary preparations to satisfy his obligations in this matter. Among other tasks, he has:

           1) marshaled, liquidated and safeguarded all receivership assets;

           2) investigated the business of the Defendants and potential claims that the Receiver might

   bring on behalf of Commodities Online;

           3) instituted and settled several legal proceedings for the benefit of Commodities Online;

           4) accounted for Commodities Online’s funds and filed all required tax returns;


                                                  Mandel & Mandel     LLP
   1200 Alfred I. duPont Building     169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 2 of 9




           5) established and implemented a claims process; and

           6) made a full distribution to all approved claimants in the total amount of $1,759,317.75.

           Furthermore, the Securities and Exchange Commission has settled its claims against the

   Defendants and has advised the Receiver that it consents to the termination of the Receivership as

   provided herein. Accordingly, the Receiver files this Final Report and respectfully moves this

   Court to enter the orders the Receiver believes necessary to conclude this matter.

   II.     FINAL REPORT

           A.       Final Fee Motions

           The Court granted the final fee applications of the Receiver, his counsel and his forensic

   accountants on April 11, 2018. D.E. 334, 335.

           B.       Procedural Background

           As set forth in greater detail in the Receiver’s periodic status reports, the filings relating to

   the claims process, and the motions for approval of distributions (see, e.g., D.E. 11, 22, 116, 159,

   197, 221, 232, 246, 260, 274, 290, 300, 302, 314, 324, 326), at the outset of this litigation initiated

   by the SEC, this Court entered a temporary restraining order against the defendants; froze the

   defendants’ assets; and appointed David S. Mandel as Receiver over the Defendants (the

   “Receivership Order”) D.E. 1, 3 and 5. Subsequently with the defendants’ consent, the Court

   entered permanent injunctions against the defendants. D.E. 7, 8. The SEC and the United States

   Attorney’s Office pursued separate actions against individuals who controlled Commodities

   Online, referenced below.

           In furtherance of his responsibilities under the Receivership Order and reported to the Court

   in the periodic status reports, the Receiver pursued several avenues to recoup and regain investor

   funds that were transferred to third parties. The Receiver procured the return of $826,185 in funds



                                                        -2-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 3 of 9




   purportedly related to iron ore. The Receiver also recovered more than $22,000 in retainers paid

   to attorneys to represent certain employees of the Defendants.

           In the interpleader action of Frost National Bank v. David S. Mandel, Receiver for

   Commodities Online, et al. no. 2011-40749 in the 215th Judicial District Court of Harris County,

   Texas, regarding the Receiver’s claim for funds relating to purported iron ore dealings, the Court

   approved the $100,000 settlement of the dispute and the Receivership received the total amount of

   the settlement. D.E. 168, 191.

           In the disgorgement proceedings in the instant case against James C. Howard, a principal

   of Commodities Online, the Court ordered Howard to disgorge $1,450,000 of investor funds he

   had transferred to Sutton Capital, a company he owned and controlled (the “Disgorgement Order”).

   D.E. 39. After extensive litigation, hearings and appeals, detailed in the Receiver’s status reports,

   Mr. Howard failed to comply with the Court’s Order to make payments to the Receiver and filed

   for bankruptcy. D.E. 206, 207.

           In the case of David S. Mandel, Receiver for Commodities Online, et al. v. James C.

   Howard III, Louis Gallo III, George Saliba, and Martin Vegas, no. 11-23620-Civ-Cooke, the

   Receiver brought fraudulent transfer and conversion claims against the defendants seeking more

   than $5,000,000 based on their involvement in the Commodities Online scheme. Regarding

   defendants Howard and Gallo, both defendants were indicted in a related federal criminal case

   U.S. v. Howard, et al., no. 12-20630-Cr-Lenard. Both Howard and Gallo pleaded guilty; Howard

   was sentenced to 189 months’ imprisonment and Gallo was sentenced to 168 months’

   imprisonment. Both defendants were ordered to pay approximately $19 million in restitution,




                                                        -3-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 4 of 9




   jointly and severally with other codefendants and co-conspirators.1 Based on the results of the

   criminal case, the Court granted the Receiver’s motion to dismiss without prejudice the civil case

   against defendants Howard and Gallo. Mandel v. Howard, et al., 11-23620-Civ-Cooke; D.E. 137.

           Regarding defendant Saliba, the Receiver obtained a final default judgment against Saliba

   in the amount of $2,089,368.00. D.E. 106. Saliba later filed for bankruptcy, and the Receiver

   ultimately received a distribution of $2,685.86 from the Saliba estate. Regarding defendant Vegas,

   the Court approved the Receiver’s proposed settlement with Vegas for $200,000. D.E. 143. Vegas

   failed to comply with the terms, and the Court entered a final consent judgment against Vegas.

   D.E. 145.

           In July 2012, James Howard filed for bankruptcy, no. 12-28313-JKO, Bankr. S.D. Fla; in

   which the Receiver filed a claim. Subsequently the Receiver filed an adversary action, no. 14-

   01659-JKO, Bankr. S.D. Fla, to preserve the receivership estate’s rights against Mr. Howard and

   to protect the receivership estate from any potential marshaling claims by the bankruptcy trustee.

   The Receiver obtained a judgment from the bankruptcy court that the full amount of Howard’s

   debt to the Receiver was non-dischargeable, but ultimately the bankruptcy estate did not acquire

   sufficient assets to make any distribution to the Receiver.

           In the case of David S. Mandel, Receiver for Commodities Online, et al. v. Francisco Javier

   Ortiz Gonzalez, case no 12-62471-Civ-Dimtrouleas, the Receiver filed a lawsuit alleging

   fraudulent transfer and civil theft claims. The parties agreed to settle for $200,000, but the

   defendant failed to comply with the settlement terms. D.E. 47, 52. The Court entered a final

   consent judgment against the defendant. D.E. 54.



           1
             Michael R. Casey, a co-defendant in the criminal case and a fugitive since 2014, was
   recently arrested in Mexico and extradited to the United States. His case remains pending. Several
   other individuals pled guilty in the same criminal case or in related cases.
                                                        -4-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 5 of 9




           On March 9, 2018, the Court granted the Receiver’s motion seeking approval of the sale

   of final judgments against George Saliba, Martin Vegas and Francisco Javier Ortiz Gonzalez to

   the highest bidder, SM Financial Services Corporation. D.E. 328, 333.

           Recently, on August 6, 2018, the SEC filed an unopposed motion for entry of judgments

   of permanent injunction and other relief as to the defendants, which remains pending. D.E. 336.

           C.       Completion of the Claims and Distribution Process

                             1.       Claims Process

           On October 19, 2015, the Court entered the Order Authorizing Claims Process (D.E. 308).

   The Receiver sent claim forms to every Commodities Online investor and to other potential

   claimants and creditors. The investors’ and creditors’ identities were ascertained from the

   numerous files and computer databases seized from the Defendants. The Receiver also published

   information about the claims process and a downloadable copy of the claim form on the

   Receivership website, which many claimants utilized.

           The Receiver, his counsel and accounting professionals reviewed all the claims and

   resolved issues relating to many problematic, disputed or deficient claim forms. On March 9,

   2016, the Receiver filed his Omnibus Objections to Certain Claims and informed all claimants and

   creditors of the Receiver’s recommendations regarding their claims. D.E. 311. Thirty days later,

   the Receiver filed his Omnibus Report regarding the status of claims together with a Motion for

   Determination of Certain Claims. D.E. 314. Thereafter, the Receiver submitted two supplemental

   filings to the Court addressing certain claims. D.E. 317, 318. On January 11, 2017, the Court held

   a hearing regarding disputed claims. The Court granted the Receiver’s Motion for Determination

   of Certain Claims, determining that approved claims were limited to the dollar amount of the

   investment. D.E. 321, 322.



                                                        -5-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 6 of 9




                             2.       Distribution Process

           Pursuant to the Court’s Orders (D.E. 308, 322, 325, 327), with the significant assistance of

   Kapila/Mukamal LLP, the Receiver made distributions to the approved claimants on a pro rata

   basis. The total amount distributed for allowed claims was approximately $1,759,317.75, which

   constituted a 10.78% distribution rate. After the distribution, the Receiver, his counsel and his

   accountants continued to communicate with investors regarding various matters, including

   confirming addresses, receipt of checks, and similar matters.

           D.       The Receiver Has Accounted for the Assets and Liabilities of the Receivership
                    Estate

           The Receiver has marshaled and safeguarded all assets of Commodities Online and has

   identified the Receivership’s liabilities. Pursuant to his obligations under the Receivership Order,

   the Receiver attaches this report a Summary Accounting of Receipts and Distributions as Exhibit

   2 to this Report, including a schedule of the distributions sent to claimants.

           The Receivership’s assets included:

                    Bank Accounts. Funds in the Defendants’ accounts that were
                    frozen pursuant to the TRO and transferred to the control of the
                    Receiver;

                    Litigation settlements and proceeds, including bankruptcy
                    matters. The proceeds of all settlements by the Receiver, including
                    pre-filing of claims and after commencement of litigation.

                    Other Income. The return of retainers transferred to attorneys for
                    Commodities Online employees.

           The liabilities included:

                    Approved Claims. The total of all claims approved by the Court.
                    This total liability to defrauded investors far exceeded the assets of
                    the Receivership estate. To date, the Receiver has made pro rata
                    payments on these claims totaling $1,759,317.75;

                    General Disbursements. Payments made by the Receiver for
                    services incurred by the Receiver and in payment of taxes;

                                                        -6-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 7 of 9




                    Paid Professional Fees. Payments made pursuant to Court order as
                    compensation to the Receiver, his counsel, forensic accountants and
                    computer consultants.

           Here is a summary of the Receivership’s receipts and disbursements:

                    Receipts:

                    Turnover of funds from frozen accounts                             $2,434,315.63
                    Litigation settlements                                                928,871.01
                    Return of Retainer and/or Trust Funds                                  26,816.44
                    Interest Income                                                           476.22
                    Refunds (misc)                                                            396.62

                    Total Receipts                                                     $3,390,875.92

                    Disbursements:

                    Distributions to Claimants                                         $1,759,344.71
                    Professional fees and expenses                                      1,526,339.49
                    Receiver’s fees                                                        95,120.00
                    Taxes                                                                   5,043.09
                    Other expenses                                                          5,028.63

                    Total Disbursements                                                 3,390,875.92


           In conclusion, over the course of the Commodities Online Receivership, the estimated

   assets of the Defendants including accrued interest totaled $3,390,875.92. The Receiver

   distributed $1,759,344.71 to holders of approved claims. Following the Court’s granting the

   Receiver’s and his professionals’ motions for final payments, the Receivership’s disbursements

   including distribution of claims, and payment of professional fees and expenses totaled

   $3,390,875.92. At this time, no funds remain in the Receivership.




                                                        -7-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 8 of 9




           E.       The Receiver has filed all necessary tax returns.

           On behalf of the Receiver, KapilaMukamal prepared and filed federal and state tax returns

   for Commodities Online for the years 2012 through 2017.

           F.       The Receiver seeks the Court’s approval to erase and dispose of remaining

   computers and files.

           The Receiver currently possesses ten (10) computers and 54 boxes of documents taken

   from the Defendants’ offices. The Receiver seeks the Court’s approval to erase and destroy all

   computers and dispose of all documents.

   IV.     THE RECEIVER’S MOTION TO TERMINATE THE RECEIVERSHIP AND
           RELIEVE THE RECEIVER OF ALL FURTHER OBLIGATIONS

           For the reasons stated herein, upon the completion of all outstanding duties, including

   destruction of remaining computers and paper files, the Receiver respectfully requests to be

   relieved of all further duties and obligations as Receiver in this matter. Counsel for the Receiver

   has conferred with counsel for the Securities and Exchange Commission, James Carlson, Esq.,

   who reviewed this Final Report and Motion and advised the Receiver that the SEC has no objection

   to the Report or the relief sought herein.

   V.      NOTIFICATION TO ALL APPROVED CLAIMANTS

           The Receiver will post a copy of this Final Report and Motion to Close the Receivership

   on the Receiver’s Website (http://www.commoditiesonline.com ).




                                                        -8-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
Case 0:11-cv-60702-MGC Document 337 Entered on FLSD Docket 08/14/2018 Page 9 of 9




           WHEREFORE, the Receiver respectfully requests that this Court enter an Order approving

   this Final Report and granting the Receiver’s motion to terminate the Receivership, including

   destruction of the Defendants’ computers and documents. A proposed order is provided for the

   convenience of the Court. It has been an honor to serve this Court as Receiver.

                                                        Respectfully submitted,

                                                        MANDEL & MANDEL LLP
                                                        Counsel for the Receiver, David S. Mandel

                                                        1200 Alfred I. duPont Building
                                                        169 East Flagler Street
                                                        Miami, Florida 33131
                                                        Telephone: 305.374.7771
                                                        Facsimile: 305.374.7776
                                                        nsm@mandel.law

                                               By:      /s/ Nina Stillman Mandel
                                                        NINA STILLMAN MANDEL
                                                          Florida Bar No.: 843016




                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by

   CM/ECF filed this 14th day of August 2018.

                                                        /s/ Nina Stillman Mandel




                                                        -9-
                                                 Mandel & Mandel     LLP
   1200 Alfred I. duPont Building    169 East Flagler Street    Miami, Florida    Telephone 305.374.7771
